                  Case 1:23-cv-03146-LGS Document 65 Filed 06/21/23 Page 1 of 1

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                                   Application GRANTED. The order to show cause hearing scheduled for
                                   June 21, 2023, at 4:10 P.M. is CANCELLED for the reasons stated in
       June 20, 2023               Plaintiff's letter. The temporary restraining order issued April 27, 2023,
                                   shall no longer restrain and enjoin Defendants. So Ordered.
       VIA ECF ONLY:
       Hon. Lorna G. Schofield     Dated: June 21, 2023
       Courtroom 1106                    New York, New York

         Re: ZURU INC. v. The Individuals, Partnerships, and Unincorporated Associations
             Identified on Schedule "A"
             Case No.: 1:23-cv-03146-LGS

       To the Honorable Lorna G. Schofield,

              Counsel for Plaintiff writes to inform the Court that it filed today June 20, 2023 notices of
       dismissal as to the defendants who were remaining in this action.

              Plaintiff respectfully requests the Court adjourn the hearing on Plaintiff’s motion for
       preliminary injunction scheduled for tomorrow, June 21, 2023 at 4:10 p.m, as there are no
       defendants remaining in the case who would be subject to a preliminary injunction.

       Sincerely,

       SRIPLAW




       Joel B. Rothman




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